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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

DONALD CARPENTER Docket No. :

WALMART, INC.

VS.

Plaintiff,

Defendants.

 

COMPLAINT

Plaintiff, Donald Carpenter, by way of Complaint against the Defendant, says:

1.

COUNT I
Plaintiff, Donald Carpenter is an individual, who at all time material hereto lived in
Burlington, New Jersey, and at all times relevant hereto, was a resident of the State of
New Jersey.
Upon information and belief, and at all times relevant herein, the Defendant,
Walmart, Inc. is a corporation or other business entity with its corporate offices
located in Arkansas, and incorporated in the State of Delaware.
Walmart, Inc. is a corporation or other form of business duly licensed to do business
in the State of New Jersey, and owns and operates a store located at 2106 Mount

Holly Road, Burlington, New Jersey 08016.
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4,

10.

11.

Federal jurisdiction is based upon diversity of citizenship, 28 U.S.C. Section
1332(a)(1) in that the Plaintiff is a citizen of New Jersey and defendant is a Delaware
Corporation.

Venue is based upon 28 U.S.C. Section 1391(d), as the defendant’s business location
where the accident involved herein occurred is located within the judicial district of
this court.

The Plaintiffs damages exceed the minimum jurisdictional amount required
($75,000) and also exceed the arbitration limit ($150,000), and a jury trial is
demanded.

At all times material hereto, Defendant owned, controlled, possessed, maintained and
operated, through its agents, servants, employees, and/or franchisees, the
aforementioned premises and were responsible for the maintenance, repair, cleaning
and upkeep of the premises identified above.

On or about August 22, 2020, Plaintiff was a patron at the Walmart Store located in
Burlington, New Jersey, and was a business invitee of the defendant.

As Mr. Carpenter was walking through the store, he was caused to slip on the
accumulation of water that leaked from a freezer containing ice that was for sale by
the store.

At the time of the accident, there were no signs, cones or other warnings of the
dangerous and/or defective condition that existed.

At the time of the accident, there were no mats placed at or near the freezer to capture

the water that was leaking from the machine.
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12. As a result of the injury, Mr. Carpenter sustained a severe and permanent injury to his
left ankle suffering a left distal fibular fracture, which injury has prevented him from
working and engaging in his activities of daily living.

13. As a result of the injury, Mr. Carpenter has incurred medical bills, and has had a loss
of earnings and earning capacity, and may not be cleared to return to work, thereby
causing a permanent future wage loss.

14. Plaintiffs injuries were caused by the negligence and carelessness of Defendant
through Defendant's agent(s), servant(s), employee(s), and/or people under their
control in that:

(a) Defendant failed to exercise reasonable care in the maintenance and care
of the aforementioned premises;

(b) Defendant failed to take adequate steps to warn individuals such as
Plaintiff of a slippery and hazardous condition that existed on the
premises;

(c) Defendant failed to properly maintain or cause to have maintained the
aforementioned premises and allowed a dangerous condition to exist for
an unreasonable amount of time;

(d) Defendant failed to install or utilize proper maintenance procedures to
prevent hazardous conditions and to assure a safe walking surface existed;

(e) Defendant allowed to exist on its property a hazardous condition, which it
knew, or in the exercise of due care and diligence should have known

existed;
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(f) Defendant failed to repair a leaking condition that allowed water to
accumulate on the floor and pose a slipping hazard to business invitees
lawfully on the premises such as plaintiff;

(g) Defendant failed to inspect the premises to discover and/or repair a
defective and dangerous condition;

(h) Defendant failed to put signs, cones or other warnings at or near the area
where the leak occurred to notify patrons, such as plaintiff, of the
condition;

(f) Such other acts of negligence, unknown to Plaintiff, as may be learned
during the course of discovery.

15. Solely as a result of Defendant’s aforesaid negligence, Plaintiff sustained injuries as
set forth above.

16. Plaintiff has suffered and may continue to suffer great physical pain, serious and
permanent injury and mental anguish; has been and may continue to be prevented
from attending to Plaintiff's usual activities, duties, and occupations; has suffered and
may continue to suffer a loss of earnings and earning capacity; and has incurred and
may continue to incur various medical expenses in and about an effort to cure
Plaintiff of the aforesaid injuries and has otherwise expended monies in an effort to
remediate the injuries and/or damages caused by the negligence of Defendant.

17. By reason of his injuries, Plaintiff has been prevented from pursuing his daily
activities and customary duties and enjoyment from the pleasures of life and may be

prevented from doing so in the future, to his great detriment and loss.
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18. The injuries and damages sustained by Plaintiff, as set forth above, were the sole
proximate result of the aforesaid negligence of Defendant, and the result of an action
or failure to act on the part of Defendant.

19. As a result of the negligence of the defendant, and the accident and resulting injuries,
it is anticipated that there may be a lien for the payment of Mr. Carpenter’s medical

bills, which lien is not yet final, for which defendant is liable.

WHEREFORE, Donald Carpenter, demands judgment against the Defendant for

compensatory damages together with interest and costs of suit in an amount greater than

$150,000.

Kamensky, Cohen & Riechelson

DATE: 2/28/2022 BY: KeviwRiechelsow _
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